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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   DALANEA TAYLOR, et al.,

         Plaintiffs,

   v.                                                  CASE NO. 8:21-cv-555-SDM-CPT

   CHRIS NOCCO,

         Defendant.
                                              /


                                          ORDER

         (a)    Referral to Mediation: This action is referred to mediation. Dana

   G. Bradford, 50 North Laura Street, Suite 2600, Jacksonville, Florida 32202

   (904)-598-6103, is the mediator. If unsuccessful, the parties are subject to a

   successive mediation.

         (b)    Conduct of Mediation: The mediator must conduct the mediation in

   accord with this order and the Local Rules. Compliance with this order is not

   satisfied by any other attempt by the parties to resolve this matter through mediation

   or by another mechanism for dispute resolution.

         (c)    Scheduling Mediation: The parties must mediate no later than

   APRIL 29, 2022.

         (d)    Designation and Responsibility of Lead Counsel: Ari Bargil is

   designated as lead counsel and must consult both the mediator and other counsel to

   coordinate the day and time of the mediation. Within SEVEN days after this order,
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   lead counsel must file a notice of mediation that states the agreed day and time of

   mediation. When the notice is filed, the agreed day for the mediation replaces the

   deadline in paragraph (c). Extension of the mediation deadline requires a court order

   and is increasingly disfavored as the mediation deadline approaches. Before moving

   for an extension of the mediation deadline, the movant must consult both the

   mediator and opposing counsel to determine an agreed day and time for the

   rescheduled mediation. A motion for an extension of the mediation deadline must

   comply with Local Rule 3.01(g).

         (e)    Rules Governing the Mediation: In accord with Chapter Four of the

   Local Rules, the following requirements apply:

                (1)    Case Summaries: At least five business days before the scheduled
                       mediation, the mediator and the other parties must receive from
                       each party a brief written summary of the facts and issues of the
                       action. The mediator and the parties must treat each summary as
                       a confidential communication and must not disclose the
                       summary or the summary’s content.

                (2)    Authority and Duties of the Mediator. The mediator may confer
                       privately with any counsel, an individual party, a corporate or
                       municipal representative, or a claims professional for any proper
                       purpose in the mediator’s discretion. The mediation must
                       continue until adjourned by the mediator. No participant can
                       compel the early conclusion of a mediation because of travel or
                       another engagement. The mediator is required to report within
                       seven days after mediation the result of the mediation and
                       whether all required persons attended. Only the mediator may
                       declare an impasse. To co-ordinate the mediation, the mediator
                       may set an abbreviated scheduling conference before the
                       mediation.




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                (3)    Attendance: Absent leave of court, which is granted only in an
                       extraordinary circumstance, each attorney acting as lead
                       counsel, each party (or the designated representative with full
                       authority to settle), and any necessary insurance carrier
                       representative must attend the mediation in person. Any
                       unexcused absence or departure from mediation is sanctionable.

                (4)    Structure: In a complex or protracted case, or a case with many
                       parties, the mediator can conduct the mediation in sequential
                       sessions with fewer than all the parties present.

                (5)    Confidentiality: The substance of the mediation is confidential
                       and no party, lawyer, or other participant is bound by, may
                       record, or without the judge’s approval, may disclose any
                       event, including any statement confirming or denying a fact —
                       except settlement — that occurs during the mediation.

         (f)    Compensation of the Mediator: Under the Local Rules, the parties

   must compensate the mediator at the mediator’s prevailing hourly rate, which,

   unless otherwise agreed by counsel, the parties must bear equally and pay

   immediately after the mediation. When moving to tax other costs, the prevailing

   party may move to tax the mediator’s compensation as a cost. The parties must

   comply with any reasonable cancellation policy established by the mediator.

         (g)    Objections: A party waives as to this order any objection not

   asserted within ten days and in writing.

          ORDERED in Tampa, Florida, on February 9, 2022.




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                       UNITED STATES DISTRICT COURT
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DALANEA TAYLOR, et al.,

      Plaintiffs,

v.                                                  CASE NO. 8:21-cv-555-SDM-CPT

CHRIS NOCCO,

      Defendant.
                                             /


                                  MEDIATION REPORT

      In accord with the mediation order, a mediation occurred on

                                  , 20   .

      (a)    The following individuals, parties, corporate representatives, and claims

professionals attended and participated in the mediation, and each possessed the

requisite settlement authority:

             All individual parties and their respective trial counsel.

             Designated corporate representatives.

             Required claims professionals.


      (b)    The following individuals, parties, corporate representatives, and claims

professionals failed to appear or participate:
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      (c)   The result of the mediation:

            The action completely settled. Lead counsel must notify the court of
            settlement within ten days of the mediation by filing a notice or
            memorandum of agreement signed by the parties and the mediator.

            Comments:




            The action partially resolved. Lead counsel must file within ten days a
            joint stipulation resolving the settled claims. The following issues
            remain:




            Comments:




            The action neither settled nor failed to settle.

            Comments:




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           The parties failed to settle.

           Comments:




      Reported on                          , 20       , in                   , Florida.




                                                  Signature of Mediator


                                                  Name (PRINTED) of Mediator




                                                  Mediator’s Mailing Address and
                                                  Telephone Number


Cc: Counsel of Record and
    Unrepresented Parties




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